              Case 7:20-mj-12317-UA Document 9 Filed 12/28/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                       CONSENT TO PROCEED BY VIDEO OR
                                                                                 TELE CONFERENCE
                             -against-
                                                                                    20 MAG 12317


John Mueser
                                                Defendant(s).
-----------------------------------------------------------------X

Defendant _John Mueser_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ hereby voluntarily
consents to participate in the following proceeding via _X_ videoconferencing or _X_
te leconferenci ng:

           Initial Appearance Before a Judicial Officer

           Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
           Indictment Form)

_X_        Bail/Detention Hearing

           Conference Before a Judicial Officer



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cfetendant's Signatufe         'J Defendant's Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_John Mueser____                                                     Peter Katz, Esq . _ _ _ _ _ __
Print Defendant's Name                                               Print Counsel's Name



This proceeding was conducted by reliable video or telephone conferencing technology.

   tJ-/J. ~
Date
                ;~6~                                                     ~
                                                                     JJ~s Qisl i;t 1!1EltJ1»U.S. Magistrate Judge
